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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    EDWARD BULGARA
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             Case No. 1:05-cr-00471 OWW
                                           )
12                     Plaintiff,          )             STIPULATION TO VACATE TRIAL DATE
                                           )             AND SET FOR STATUS CONFERENCE
13         v.                              )
                                           )
14   EDWARD BULGARA and                    )             DATE : July 17, 2006
     MONICA SANCHEZ,                       )             TIME : 1:30 p.m.
15                                         )             DEPT : Hon. Oliver W. Wanger
                       Defendants.         )
16   _____________________________________ )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel, KIMBERLY A. KELLY, Assistant United States Attorney, counsel for Plaintiff; ERIC V.
20   KERSTEN, Assistant Federal Defender, counsel for Defendant Edward Bulgara; and JAMES
21   HOMOLA, counsel for Defendant Monica Sanchez that the trial date in this matter may be vacated and
22   a status conference may be scheduled for July 17, 2006. The date currently set for trial is July 18,
23   2006. It is requested that the trial date be vacated and that a status conference be scheduled
24   July 17, 2006.
25          This request is made to allow time for activities leading to a possible resolution of the case through
26   a government motion pursuant to § 5K1.1 of the United States Sentencing Guidelines. Additional
27   investigation is needed to determine the propriety and/or extent of such a motion.
28   ///
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1            The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice, including but not limited to, the need for the period of time set forth herein for effective defense
3    preparation pursuant to 18 U.S.C. § 3161(h)(B)(iv).
4
5            DATED: July 7, 2006                           MCGREGOR W. SCOTT
                                                           United States Attorney
6
7                                                           /s/ Kimberly A. Kelly
                                                            KIMBERLY A. KELLY
8                                                           Assistant U.S. Attorney
                                                            Attorney for Plaintiff
9
10
11           DATED: July 7, 2006                            DANIEL J. BRODERICK
                                                            Federal Defender
12
13                                                          /s/ Eric V. Kersten
                                                            ERIC V. KERSTEN
14                                                          Assistant Federal Defender
                                                            Attorney for Defendant
15                                                          Edward Bulgara
16
17           DATED: July 7, 2006                            JAMES HOMOLA, Esq.
18
                                                            /s/ James Homla
19                                                          Attorney for Defendant
                                                            Monica Sanchez
20
21
22                                                     ORDER
23   DENIED.
24
             DATED: July _7__, 2006                                 /s/ OLIVER W. WANGER__________
25                                                                  OLIVER W. WANGER
                                                                    U.S. District Court Judge for the
26                                                                  Eastern District of California
27
28

     Stipulation to Continue Status Conference              2
